     Case 17-33580-hdh11 Doc 143 Filed 11/19/18                               Entered 11/19/18 15:52:55                 Page 1 of 2




The following constitutes the ruling of the court and has the force and effect therein described.



Signed November 19, 2018
                                            United States Bankruptcy Judge
  ______________________________________________________________________



                                    IN THE UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS
                                                DALLAS DIVISION

   IN RE:                                                                 §
                                                                          §                 Chapter 11
   WFG INVESTMENTS, INC. 1                                                §
                                                                          §                 Case No. 17-33580-HDH
                                                                          §
            Debtors.                                                      §                 (Jointly Administered)
                                                                          §


                                 ORDER DENYING CLAIMS OF JOHN DAVID WRIGHT

                CAME ON FOR CONSIDERATION the Objection to Claim of John David Wright filed by WFG

      Investments, Inc. (“WFGI”), and the Amended Objection to Claim of John David Wright filed by Dennis

      Faulkner, the duly appointed Liquidating Trustee (the “Trustee”) in the above-captioned administratively

      consolidated cases (collectively, “Objection”); and the Court, having considered the Objection, the record

      in the case, and the representations of counsel for the Trustee at the hearing, hereby finds that (i) the

      Objection was duly and properly filed and served on John David Wright (“Claimant”) and Claimant’s

      counsel, (ii) Claimant has failed to file a response or otherwise reply to the Objection, (iii) Notice of the


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     This case is jointly administered under Williams Financial Group, Inc.; Case No. 17-33580-HDH-11. The Debtors in these cases,
   along with the last four digits of each Debtor’s federal tax identification number, are: Williams Financial Group, Inc. (8972); WFG
   Management Services, Inc. (7450); WFG Investments, Inc. (7860) and WFG Advisors, LP (9863).


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Case 17-33580-hdh11 Doc 143 Filed 11/19/18                    Entered 11/19/18 15:52:55        Page 2 of 2



hearing on the Objection was properly filed and served on Claimant and his counsel, (iv) Trustee’s counsel

was advised by Claimant’s counsel that there was no opposition to the Objection, and (v) Neither Claimant

nor his counsel appeared at the scheduled hearing on the Objection, and (vi) good and sufficient grounds

exist to grant the Objection; accordingly, it is therefore,

        ORDERED that the Objection is, and shall be, granted in all respects; it is further,

        ORDERED that Claim No. 57-1 filed by John David Wright against WFGI is denied in full.

        .



                                    ####### END OF ORDER #######


Submitted by:

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